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                                    DISTRICT JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA – PHOENIX
U.S. District Judge: Douglas L. Rayes            Date: February 23, 2023
USA v. David Allen Harbour                       Case Number: CR-19-00898-001-PHX-DLR

Assistant U.S. Attorney: Kevin Rapp and Coleen Schoch
Attorney for Defendant: Stephen Dichter and Justin Vanderveer, Retained

Defendant: ☒ Present ☐ Not Present            ☒ Released     ☐ Custody ☐ Summons ☐ Writ

JURY TRIAL (Day 12):

8:57 a.m. Reconvene. Parties present. Jury not present. Discussion held regarding pending motions and
remaining trial schedule.
9:05 a.m. Jury present. Direct examination of Jeanette Paige continues. Exhibits 915, 916, 694, 910,
911, 38 (pages 2, 6, & 8), 917, 906, 918, 867, and 797 admitted.
10:26 a.m. Jury excused for break. Court remains in session. Discussion held regarding Defendant’s
objection to Exhibit 798. Defendant’s objection is overruled. Exhibit 798 admitted.
10:36 a.m. Recess.

10:50 a.m. Reconvene. Parties present. Jury present. Direct examination of Jeanette Paige continues.
Exhibits 799, 800, 66 (page 16), 35, 415, 416, and 417 admitted.
11:22 a.m. Cross examination of Jeanette Paige.
12:26 a.m. Recess.

1:15 p.m. Reconvene. Parties present. Jury not present. Defendant’s Motion to Reconsider Ruling re:
Disclosure of Expert Witness Email (Doc. 637) is DENIED.
1:22 p.m. Cross examination of Jeanette Paige continues. Exhibits 682 and 683 admitted.
2:42 p.m. Jury excused for break. Court remains in session. Previously admitted exhibits are
reidentified for the record as follows: Exhibit 202A (pages 148-153), Exhibit 40A (pages 29-31, and
34), Exhibit 261A (pages 72-78), Exhibit 261B (pages 79-97), Exhibit 261C (pages 59 and 62), and
Exhibit 384A (pages 25-27).
2:44 p.m. Recess.

3:01 p.m. Cross examination of Jeanette Paige continues.
4:02 p.m. Redirect of Jeanette Paige.
4:11 p.m. Jury excused. Court remains in session. Discussion held regarding remaining trial schedule.
4:18 p.m. Court is in recess until 9:00 a.m. on February 24, 2023.

Court Reporter: Jennifer Pancratz                                               JT: 6 hrs 1 min
Deputy Clerk: Robert Vasquez                                                    Start: 8:57 AM
                                                                                Stop: 4:18 PM
